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                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re:                        §
                               §                       Case No. 21-30085-hdh-11
 NATIONAL RIFLE ASSOCIATION OF §
 AMERICA and SEA GIRT, LLC,    §                       CHAPTER 11 CASE
                               §
      Debtors.                 §                       JOINTLY ADMINISTERED
                               §
      STIPULATION AND AGREED ORDER REGARDING GENERAL BAR DATE

          COME NOW Ackerman McQueen, Inc., a creditor in the above-captioned cases (“AMc”);

the National Rifle Association of America and Sea Girt, LLC, former debtors in possession in the

above-captioned cases (collectively, the “Debtors”); the official committee of unsecured creditors

appointed in the above-captioned cases (the “UCC”); and the United States Trustee for the Northern

District of Texas (the “US Trustee” and collectively with AMc, Debtors, and UCC, the “Parties”)

and enter into this Stipulation and Agreed Order (the “Stipulation”) for the Court’s immediate

approval:

                                          RECITALS

          WHEREAS the Debtors filed the above-captioned, jointly administered bankruptcy cases

(the “Bankruptcy Cases”) on January 15, 2021;

          WHEREAS on January 28, 2021, the Court scheduled the deadline for non-governmental

creditors to file proofs of claim as May 24, 2021 (the “General Bar Date”) (ECF 80);

          WHEREAS on May 11, 2021, the Court entered an order dismissing the Bankruptcy Cases

(the “Dismissal Order”) [ECF 740];

          WHEREAS the Debtors have 14 days to appeal the Dismissal Order, pursuant to Federal

Rule of Bankruptcy Procedure 8002(a)(1) (the “Appeal Deadline”);



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         WHEREAS the Court can generally alter, amend or grant a new trial on the Dismissal

Order, pursuant to Federal Rule of Bankruptcy Procedure 9023 (the “New Trial Deadline”);

         WHEREAS on May 29, 2021, AMc filed a motion to extend the General Bar Date for 60

days for all creditors of the Debtors (the “Bar Date Motion”) [ECF 750];

         WHEREAS the UCC does not oppose the Bar Date Motion;

         WHEREAS the US Trustee does not oppose the Bar Date Motion;

         WHEREAS the Debtors have taken the position that the Court is divested of jurisdiction to

grant the Bar Date Motion, pursuant to section 349 of the Bankruptcy Code;

         WHEREAS AMc does not agree with the Debtors’ position regarding its jurisdiction in

these Bankruptcy Cases after entry of the Dismissal Order for several reasons, including, but not

limited to, the Court’s authority before, and possibly after, the Appeal Deadline and New Trial

Deadline;

         WHEREAS the Parties wish to amicably resolve any disputes regarding the Bar Date

Motion;

         NOW THEREFORE, in full resolution of all disputes regarding the Bar Date Motion, the

Parties agree to the following terms and conditions:

                                                TERMS

         1.        In the event the Dismissal Order is altered, amended or vacated by the Court or

otherwise reversed or remanded on appeal, the General Bar Date shall immediately be extended for

60 days after the Bankruptcy Cases have been reinstated.

         2.        No creditor of the Debtors shall be required to file a proof of claim by the current

General Bar Date (May 24, 2021) to preserve its, his or her claims against any of the Debtors.




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         3.        None of the current proof of claims filed by any creditor of the Debtors waives such

creditors’ rights to a jury trial or to have such claim resolved by another court, arbitrator or any

other tribunal.

         4.        Each signatory below has authority to bind the parties he, she or it has represented

in the Bankruptcy Cases.

         5.        The Court shall retain jurisdiction to enforce or interpret this Stipulation.

NOW THEREFORE, having considered the above Stipulation and Agreed Order, the Court

hereby

         ORDERS, ADJUDGES AND DECREES that the above Stipulation and Agreed Order is

approved and entered as an Order of the Court.

                        ### END OF STIPULATION AND AGREED ORDER###




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AGREED TO IN FORM AND SUBSTANCE:

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                                             Kristian W. Gluck (SBT 24038921)
 /s/ Lisa L. Lambert                         Laura L. Smith (SBT 24066039)
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 United States Trustee
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